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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 JENNER & BLOCK LLP,

               Plaintiff,

        v.                                           Civil Action No. 1:25-0916 (JDB)

 U.S. DEPARTMENT OF JUSTICE, et al.,

               Defendants.


                            DEFENDANTS’ MOTION TO DISMISS

       Defendants hereby move to dismiss. The grounds for the motion are explained in the

accompanying memorandum in support of this motion. A proposed order is also submitted

herewith.



 Dated: April 8, 2025                     Respectfully submitted,
        Washington, D.C.

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